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                          UNITED STATES COURT OF APPEALS                      FILED
                                 FOR THE NINTH CIRCUIT                         APR 1 2019
                                                                           MOLLY C. DWYER, CLERK
                                                                            U.S. COURT OF APPEALS
   JENNY LISETTE FLORES,                            No.    18-56335

                      Plaintiff-Appellant,          D.C. No.
                                                    2:85-cv-04544-DMG-AGR
     v.                                             Central District of California,
                                                    Los Angeles
   JEFFERSON B. SESSIONS III, Attorney
   General; et al.,                                 ORDER

                      Defendants-Appellees.

          The appellant’s motion (Docket Entry No. 11) for voluntary dismissal of this

   case is granted. This case is dismissed. See Fed. R. App. P. 42(b).

          A copy of this order sent to the district court shall act as and for the mandate

   of this court.

                                                     FOR THE COURT:

                                                     MOLLY C. DWYER
                                                     CLERK OF COURT


                                                     By: Grace Santos
                                                     Deputy Clerk
                                                     Ninth Circuit Rule 27-7




   GS 03/25/2019/Pro Mo
